               Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 1 of 14



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


JEROME CORSI, an individual
Denville, New Jersey1

                     Plaintiffs,
v.

ROBERT MUELLER, an individual,
Individually and in his official capacity as Special Counsel
950 Pennsylvania Ave NW                                           COMPLAINT
Washington, D.C. 20530

And

UNITED STATES DEPARTMENT OF JUSTICE
950 Pennsylvania Ave NW
Washington, D.C. 20530

And

FEDERAL BUREAU OF INVESTIGATION
935 Pennsylvania Ave NW
Washington, D.C. 20530

And

NATIONAL SECURITY AGENCY
9800 Savage Rd. Suite 6272
Ft. George G. Meade MD 20755-6000

And

CENTRAL INTELLIGENCE AGENCY
1000 Colonial Farm Road
McLean, VA 22101

                     Defendants.


I.!       INTRODUCTION



1
    Plaintiff’s address is being withheld for security purposes

                                                   1
              Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 2 of 14



        Plaintiff Jerome Corsi (“Corsi”) brings this Complaint against Defendants Robert S.

Mueller (“Mueller”), the U.S. Department of Justice (“DOJ”), the Federal Bureau of Investigation

(“FBI”), the National Security Agency (“NSA”) and the Central Intelligence Agency (“CIA”) for

conducting illegal and unconstitutional surveillance, in violation of the Fourth Amendment and

both the USA FREEDOM Act and Section 702 of the Foreign Intelligence Surveillance Act

(“PRISM”), as well as a violation of the secrecy provision the Fed. R. Crim. Pro 6(e)(2) pertaining

to grand jury proceedings.

II.!    JURISDICTION AND VENUE

        1.!    This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331 (Federal Question Jurisdiction).

        2.!    The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1332 (Diversity Jurisdiction)

        3.!    This Court has supplemental jurisdiction over this case pursuant to 28 U.S.C. §

1367.

        4.!    Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) in

that Defendants reside here and are subject to personal jurisdiction in this District.

III.!   PARTIES

                                              Plaintiff

        5.!    Jerome Corsi is an individual, natural person, who at all material times was and is

a citizen of New Jersey.

                                            Defendants

        6.!    Defendant Robert Mueller is an individual and is being sued individually and in his

official capacity as Special Counsel into alleged Russian interference in the 2016 Presidential




                                                  2
              Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 3 of 14



election and alleged obstruction of justice. He is a citizen of the District of Columbia and resides

in Georgetown.

       7.!     Defendant U.S. Department of Justice is a federal agency that is headquartered in

Washington, D.C.

       8.!     Defendant Federal Bureau of Investigation is a federal agency that is headquartered

in Washington, D.C.

       9.!     Defendant National Security Agency is a federal agency that is headquartered in

Fort Meade, Maryland.

       10.!    Defendant Central Intelligence Agency is a federal agency that is headquartered in

Fairfax, Virginia.

IV.!   STANDING

       11.!    Plaintiff Corsi has standing to bring this action because he has been directly affected

and victimized by the unlawful and unconstitutional and other illegal and criminal conduct

complained herein. His injuries are proximately related to the conduct of Defendants, each and

every one of them, acting in concert jointly and severally.

V.!    FACTS

       12.!    Plaintiff Corsi is a recognized and distinguished investigative conservative

journalist and author who has written two New York Times best-selling books. He is a supporter

of President Donald J. Trump.

       13.!    In March of 2015, Plaintiff Corsi began investigating former Secretary of State

Hillary Clinton’s forced admission that while at the Department of State she had conducted U.S.

Government business through a non-government, private email server. Secretary Clinton stated




                                                 3
                 Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 4 of 14



that she had turned over 30,490 emails but deleted nearly 32,000 others, among other related

issues.

          14.!    Then, on July 22, 2016, Wikileaks released a portion of the emails that they had

downloaded from the Democratic National Convention’s (“DNC”) server. 2 Wikileaks had

announced publically before the July 22, 2016 release that it would be releasing to the public DNC

documents in several batches.

          15.!    Plaintiff Corsi, upon reviewing the documents leaked on July 22, 2016 noticed that

emails to and from Hillary Clinton’s campaign manager John Podesta were missing. He then

logically reasoned and thus speculated that these emails would be released in a future batch, as per

Wikileaks’ announcement.

          16.!    Defendant Mueller was appointed as Special Counsel on May 17, 2017 to

investigate alleged Russian inference into the 2016 Presidential election.

          17.!    In the course of his investigation, Defendant Mueller, and others on his staff at his

direction have misrepresented the investigative research conducted by Plaintiff Corsi and spun the

fake narrative that Plaintiff Corsi “colluded” with Russian intelligence and other services.

          18.!    This was based upon Plaintiff Corsi’s investigative deduction that the emails

between Hillary Clinton and John Podesta would probably be released at a later date.

          19.!    Based on these misrepresentations by Defendant Mueller and his leftist and

Democrat partisan prosecutorial and ethically and legally conflicted staff, Defendant Mueller has

threatened to indict Plaintiff Corsi and effectively put him in federal prison for the rest of his life



2
  Tim Hamburger and Karen Tumulty, WikiLeaks releases thousands of documents about
Clinton and internal deliberations, The Washington Post, July 22, 2016,
https://www.washingtonpost.com/news/post-politics/wp/2016/07/22/on-eve-of-democratic-
convention-wikileaks-releases-thousands-of-documents-about-clinton-the-campaign-and-
internal-deliberations/.

                                                    4
              Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 5 of 14



unless Plaintiff Corsi would provide the false testimony that they demanded, even after being

informed that the testimony desired would be false.

       20.!    As just one example, Defendant Mueller and his prosecutorial staff have demanded

that Plaintiff Corsi falsely testify that he acted as a liaison between Roger Stone and Wikileaks

leader Julian Assange concerning the public release of emails downloaded from the DNC’s

servers.

       21.!    Furthermore, Defendant Mueller and his staff, at his direction, have criminally

violated Federal Rules of Criminal Procedure 6(e)(2), governing the secrecy requirement of grand

jury proceedings.

       22.!    Defendant Mueller and his staff have leaked grand jury information to the press

concerning Plaintiff Corsi, in violation of Plaintiff Corsi’s privacy rights as well as the Federal

Rules of Criminal Procedure.

       23.!    For instance, and as just one example, an article published by ABC News titled

Conspiracy theorist becomes key figure as Mueller builds case contains confidential information

regarding the grand jury proceedings about Plaintiff Corsi that could only possibly have come

from Defendant Mueller.3

       24.!    The article reveals intricate details about Defendant Mueller’s investigation,

including the fact that Plaintiff Corsi had “emerged as a central figure of interest to Mueller as he

builds his case” and that Defendant Mueller had “evidence that suggests Corsi may have had

advance knowledge that the email account of Clinton’s campaign manager, John Podesta, had been

hacked and that WikiLeaks had obtained a trove of damning emails from it.”



3
 Ali Dukakis, Conspiracy theorist becomes key figure as Mueller builds case, ABC News, Oct.
31, 2018, available at: https://abcnews.go.com/Politics/conspiracy-theorist-key-figure-mueller-
builds-case/story?id=58886291

                                                 5
               Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 6 of 14



        25.!    This grand jury confidential information concerning Defendant Mueller’s

investigation was at the time only known by Defendant Mueller and his staff, including but not

limited to their press secretary, Peter Carr, who periodically disclosed and released grand jury

information to “favorable media,” at the direction of Defendant Mueller and his prosecutorial staff,

and thus meet secretly with the media at Paul Restaurant at 801 Pennsylvania Avenue, N.W.,

Washington, D.C. There Peter Carr, at the direction of Mueller and his prosecutorial staff

disclosed and released this grand jury information without leaving a paper trail. This is just one

example of how this grand jury information is and could only have been leaked by Defendant

Mueller and his prosecutorial and media relations staff. See Exhibit 1, which is incorporated herein

by reference.

        26.!    In this regard, Defendants Mueller, DOJ, NSA, CIA, and FBI have engaged in

ongoing illegal, unconstitutional surveillance on Plaintiff Corsi, in violation of the Fourth

Amendment and the USA FREEDOM Act as well targeted “PRISM” collection under Section 702

of the Foreign Sovereignties Immunity Act at the direction of Defendant Mueller.

        27.!    This illegal and unconstitutional surveillance is being conducted in conjunction

with Defendant Mueller’s investigation, at the direction of Mueller and his partisan Democrat,

leftist, and ethically and legally conflicted prosecutorial staff in order to try to uncover information

that can be used by Defendant Mueller to coerce, extort, threaten and/or blackmail Plaintiff Corsi

into testifying falsely to implicate the president of the United States in crimes and have him

removed from office.

        28.!    Plaintiff Corsi, as an investigative journalist, routinely speaks with persons located

overseas in regions that are surveilled under PRISM.

                                   FIRST CAUSE OF ACTION
                                   Fourth Amendment Violation



                                                   6
               Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 7 of 14




       29.!     Plaintiff Corsi repeats and re-alleges all of the previous allegations of this

Complaint with the same force and affect, as if fully set forth herein.

       30.!     The Fourth Amendment provides that people have a right to be secure in their

persons against unreasonable searches and seizures, that warrants shall not be issued but upon

probable cause, and that the place of search must be described with particularity. The undersigned

counsel previously obtained preliminary injunctions in other related cases before this Court where

his clients and himself, such as Plaintiff Corsi, were illegally and unconstitutionally surveilled and

attorney-client confidences violated. See Klayman v. Obama et al, 1:13-cv-851 (D.D.C), ECF

No. 49, 159.

       31.!     Defendants, each and every one them acting in concert and jointly and severally

violated the Fourth Amendment to the U.S. Constitution, as well at the above-mentioned statutes

when they unreasonably searched and seized and continue to search Plaintiff’s phone and other

digital records without a warrant and probable cause.

       32.!     Defendant Mueller, acting in his official capacity and personally, jointly and

severally through his agents such as his prosecutorial staff, without probable cause violated the

Fourth Amendment and the above statutes by not describing with particularity the place to be

searched or the person or things to be seized, and/or obtaining lawful authorization. Defendant

Mueller and his prosecutorial and media staff, acting in their official capacity and personally, also

illegally released grand jury information to harm Plaintiff Corsi by attempting to destroy his

reputation and personal and professional well-being and livelihood, thus also attempting to drive

him into bankruptcy. These illegal and criminal acts by Defendant Mueller by and through his

agents such as his prosecutorial and media staff and the other Defendants were intended to coerce,

extort, threaten and/or blackmail him into submission and designed to remove the current president



                                                  7
               Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 8 of 14



of the United States for political and other improper purposes, and therefore effectively wage a

“legal coup d’etat,” negating the will of the American voters who elected Donald J. Trump on

November 6, 2016.

        33.!    By reason of the wrongful conduct of Defendants, Plaintiff Corsi has suffered and

continues to suffer from severe emotional distress and physical harm, pecuniary and economic

damage, loss of services, loss of society and reputation accordingly.

        34.!    The allegations of illegal and unconstitutional surveillance against Defendant

Mueller are compensable personally under Bivens v. VI Unknown Named Agents of Federal

Bureau of Narcotics, 403 U.S. 388 (1971).

        35.!    As a direct and proximate result of the intentional and willful actions of Defendant

Mueller and the other Defendants, Plaintiff Corsi demands judgment be entered, including an

award of compensatory and actual damages, punitive damages, equitable relief, reasonable

attorneys’ fees, pre-judgment interest, post-interest and costs, and such other relief as the Court

may deem just and proper.

                                SECOND CAUSE OF ACTION
                           Violation of Grand Jury Secrecy Provisions
                                        Defendant Mueller

        36.!    Plaintiff Corsi repeats and re-alleges all of the previous allegations of the entirety

of this Complaint, including but not limited to the Introduction, with the same force and affect, as

if fully set forth herein again at length.

        37.!    Federal Rules of Criminal Procedure 6(e)(2), mandates that grand jury proceedings

be held to secrecy requirements.




                                                  8
              Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 9 of 14



       38.!    Defendant Mueller and at his direction his staff, including but not limited to his

media spokesperson Peter Carr, have violated Federal Rules of Criminal Procedure 6(e)(2) by

leaking grand jury information concerning Plaintiff Corsi to the media.

       39.!    These leaks are meant to pressure Plaintiff Corsi into providing the false testimony

that Defendant Mueller and his staff seek by portraying Plaintiff Corsi negatively through the

media, as well as to destroy him if he does not comply. These leaks are also intended to send a

message to other supporters of the president that they had best comply with the unlawful demands

of Defendant Mueller and his prosecutorial staff or be indicted or at the least irreparably smeared

and destroyed in the public domain.

       40.!    Plaintiff Corsi has suffered and will continue to suffer irreparable harm to his

reputation and personal and professional well-being as a result of this confidential grand jury

information being leaked to the public, which is intended to ruin him financially and otherwise.

       WHEREFORE, Plaintiff requests both preliminary injunctive relief as well as permanent

injunctive relief and whatever relief this Court deems necessary and proper.

VI.!   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment against Defendant as follows:

       (a)! For equitable, declaratory, and injunctive relief.

       (b)!For general and compensatory damages in excess of $100, 000,000.

       (c)! For punitive damages in excess of $250,000,000.

       (d)!Such other relief as this Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all counts as to all issues so triable.

Dated: December 10, 2018




                                                  9
Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 10 of 14



                            Respectfully submitted,

                             /s/ Larry Klayman
                             Larry Klayman, Esq.
                             KLAYMAN LAW GROUP, P.A.
                             D.C. Bar No. 334581
                             2020 Pennsylvania Ave. NW, Suite 800
                             Washington, DC 20006
                             Tel: (561)-558-5536
                             Email: leklayman@gmail.com

                             Of Counsel:

                             David E. Gray
                             Gray Law Group
                             760 Rt. 10 West
                             Suite 204
                             Whippany, N.J. 07981
                             Tel: 973-240-7313
                             dgray@graylawgroupnj.com

                            Attorneys for Plaintiff




                            10
Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 11 of 14
Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 12 of 14
Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 13 of 14
Case 1:18-cv-02885 Document 1 Filed 12/09/18 Page 14 of 14
                           Case 1:18-cv-02885 Document 1-1 Filed 12/09/18 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Jerome Corsi                                                                   Robert Mueller, CIA, FBI, NSA,DOJ



 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Klayman Law Group, P.A.
 2020 Pennsylvania Ave NW #800
 Washington DC 20006


 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:18-cv-02885 Document 1-1 Filed 12/09/18 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Bivens Claim for Fourth Amendment Violations

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                    NO
       IF ANY
         December 9, 2018
 DATE: _________________________                                                                     /s/ Larry Klayman
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                         Case 1:18-cv-02885 Document 1-2 Filed 12/09/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

                         Jerome Corsi                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 18-2885
                                                                     )
                     Robert Mueller, et al                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Attorney for District of Columbia
                                           555 4th St NW
                                           Washington, DC, 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Larry Klayman, Esq
                                           2020 Pennsylvania Ave NW #800
                                           Washington DC 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02885 Document 1-2 Filed 12/09/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-2885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:18-cv-02885 Document 1-3 Filed 12/09/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

                         Jerome Corsi                              )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 18-2885
                                                                   )
                     Robert Mueller, et al                         )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) National Security Agency
                                           9800 Savage Rd, #6272
                                           Ft George G. Meade, MD, 20755




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Larry Klayman, Esq
                                           2020 Pennsylvania Ave NW #800
                                           Washington DC 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02885 Document 1-3 Filed 12/09/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-2885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:18-cv-02885 Document 1-4 Filed 12/09/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

                         Jerome Corsi                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                         Civil Action No. 18-2885
                                                                     )
                     Robert Mueller, et al                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Robert Mueller
                                           950 Pennsylvania Ave NW
                                           Washington, DC, 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Larry Klayman, Esq
                                           2020 Pennsylvania Ave NW #800
                                           Washington DC 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02885 Document 1-4 Filed 12/09/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-2885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:18-cv-02885 Document 1-5 Filed 12/09/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

                         Jerome Corsi                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                         Civil Action No. 18-2885
                                                                     )
                     Robert Mueller, et al                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Federal Bureau of Investigation
                                           935 Pennsylvania Ave NW
                                           Washington, DC, 20535




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Larry Klayman, Esq
                                           2020 Pennsylvania Ave NW #800
                                           Washington DC 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02885 Document 1-5 Filed 12/09/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-2885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:18-cv-02885 Document 1-6 Filed 12/09/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District
                                                   __________     of Columbia
                                                              District of __________

                         Jerome Corsi                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                         Civil Action No. 18-2885
                                                                     )
                     Robert Mueller, et al                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Justice
                                           950 Pennsylvania Ave NW
                                           Washington, DC, 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Larry Klayman, Esq
                                           2020 Pennsylvania Ave NW #800
                                           Washington DC 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02885 Document 1-6 Filed 12/09/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-2885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

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                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                         Case 1:18-cv-02885 Document 1-7 Filed 12/09/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

                         Jerome Corsi                                   )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 18-2885
                                                                        )
                     Robert Mueller, et al                              )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Central Intelligence Agency
                                           Office of Public Affairs
                                           Washington, DC, 20505




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Larry Klayman, Esq
                                           2020 Pennsylvania Ave NW #800
                                           Washington DC 20006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-02885 Document 1-7 Filed 12/09/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-2885

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
